US Patent US                                             eufy Lumos
RE41,685                                                 Smart Bulb By
                                                         Anker- White &
                                                         Color



                                                         The eufy
10. A light source                                       Lumos Smart
                                                         Bulb By Anker-
                                                         White & Color
                                                         is a light
                                                         source.




                                        Optical Cavity
comprising: an                                           The opaque
optical cavity;                                          plastic dome
                                                         creates an
                                                         optical cavity.




a plurality of first                                     The bulb has 12
light-emitting                                           white LEDs.
diodes each of
which is a                                               Each white LED
phosphor light-                                          is a phosphor
emitting diode                                           LED that emits
that emits white                                         white light.
light,
                         Phosphor
                       LED that emits
                         white light
each first light-     Light transmitting
emitting diode             pckage                           Each first LED is
comprising a diode                                          encased in a
encased in a light-                                         light
transmitting                                                transmitting
package;                                                    package.




                                                Non-
a plurality of                             white LED in a
second light-                               transmitting    Each bulb has 8
emitting diodes                                pckage       non-white TRI
each of which emits                                         LEDs.
non-white light,
each second light-                                          Each non-white
emitting diode                                              TRI LED is
comprising a diode                                          encased in a
encased in a light-                                         light
transmitting                                                transmitting
package;                                                    package.


wherein the first
and second light-
emitting diodes are
arranged to emit                                            The white, red,
light into the                                              green, and blue
optical cavity such                                         LEDs are
that mixing of                                              arranged to mix
spectral outputs                                            light spectral
from the first and                                          outputs within
second light-                                               the optical
emitting diodes                                             cavity.
occurs in the
optical cavity.
                        Blue LED
11. A light source of
claim 10, further                   Each bulb has a
comprising at least                 third LED (blue)
one third light-                    that has a
emitting diode                      spectral output
having a spectral                   different than
output different                    the first (white)
from those of the                   and second
first and second                    (red) LED’s.
light-emitting
diodes.



                        RED LED

                                    Each bulb
12. A light source of               second non-
claim 11, wherein                   white (red) LED
the spectral output                 encased in a
of the second light-                light
emitting diodes is a                transmitting
red output.                         package.




                        Green LED


13. A light source of               Each bulb has a
claim 11, wherein                   third (green)
the spectral output                 LED encased in a
65 of the third                     light
light-emitting diode                transmitting
is a green output.                  package.
                        Blue LED


14. A light source of              Each bulb has a
claim 13, further                  fourth (blue)
comprising at least                LED encased in a
one fourth light-                  light
emitting diode                     transmitting
having a blue                      package.
output.
